               Exhibit 5




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From:              Graeme Earle <graeme.earle@epicgames.com>
Sent:              Tuesday, April 23, 2024 10:45 AM
To:                copyright@youtube.com
Subject:           [AMR7YL9B8PD3T4O5HVEJIXS10Q] Update: Copyright Claim Retraction

Importance:        High



Dear YouTube Copyright Team,

I am writing to formally reverse my recent claim of copyright infringement. Please disregard my previous
request, and let me know if you require any further information from me to complete this claim release.

https://www.youtube.com/watch?v=pAGYTFSnkDE
https://www.youtube.com/watch?v=Dp21COIr9dg
https://www.youtube.com/watch?v=K4ZT-IPaACY

We have been in contact with the content creator, and after a thorough review, we have determined that
the material in question does not infringe our copyright. The video falls within the guidelines for fair use.

Thank you for your time and assistance.

Yours sincerely,

Graeme Earle
Senior IP Enforcement Analyst
Epic Games, Inc.




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